     Case 1:94-cr-01009-MP-GRJ Document 1205 Filed 05/12/20 Page 1 of 2




        IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF FLORIDA
           GAINESVILLE AND TALLAHASSEE DIVISIONS




UNITED STATES OF AMERICA

v.                                        CASE NO. 1:94cr1009

CLAUDE DUBOC,

           Defendant.

______________________________/

UNITED STATES OF AMERICA

v.                                        CASE NO. 4:98cr46-RH

CLAUDE DUBOC,

           Defendant.

_________________________________/


            ORDER ADVANCING THE DEADLINE FOR THE
            GOVERNMENT TO RESPOND TO THE MOTION
                 FOR COMPASSIONATE RELEASE


     The deadline for the government to respond to the motion for compassionate

release, ECF No. 1204 in Case No. 1:94cr1009 and ECF No. 461 in Case No.
     Case 1:94-cr-01009-MP-GRJ Document 1205 Filed 05/12/20 Page 2 of 2




4:98cr46-RH, is advanced to May 20, 2020.

     SO ORDERED on May 12, 2020.

                              s/Robert L. Hinkle
                              United States District Judge
